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16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                               (San Diego)
17
18 AL OTRO LADO, Inc., et al.,               Case No. 3:17-cv-02366-BAS-KSC
19                           Plaintiffs,     DEFENDANTS’ EXHIBIT 61
20
                       v.                    [Redacted Public Version]
21
22 Chad F. WOLF, Acting Secretary of
   Homeland Security, in his official
23
   capacity, et al.,
24
25                         Defendants.
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27
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Conditions at the Ports of Entry
CBP officers at our nation's POEs focus on four priority missions: national security; counter­
narcotics, economic security, and the facilitation oflegitimate trade and travel.
The operational capacity at a POE varies depending on overall port volume, facility capacity,
resource constraints, and daily tactical and enforcement activities. Operational impact at POEs
cannot always be planned; for example, we do not know in advance when we will discover
human, narcotics, or weapons smuggling attempts, or which individuals may present a threat to
our officers. It takes significant resources to manage this highly variable environment.
Similar to what we see between POEs, we are seeing increased numbers ofmigrants, including
family units and other aliens who arrive without proper documents, many ofwhom claim a fear
ofreturn. Large groups ofinadmissible aliens, sometimes in the hundreds, arriving at POEs
strain our processes and divert our officers from their priority missions, as those migrants need to
be processed in a humane and efficient manner.
Our short-term holding facilities at POEs were neither designed for the large volume of
inadmissible persons nor the long-term custody ofindividuals awaiting transfer to ICE/ERO
detention facilities. We consider 4,000 detainees to be a high number ofmigrants in custody,
and consider 6,000 detainees to be at a crisis level. On March 27, 2019, CBP had more than an
unprecedented 13,000 detainees in custody.
CBP officers are committed to our multifaceted national security and legitimate trade and travel
mission sets. The processing ofinadmissible aliens is only one aspect ofour many missions.
CBP's Office ofField Operations (OFO) processes all persons who apply for admission at POEs
and does not turn away anyone who is seeking asylum. At times, due to operational capacity or
as necessary to facilitate orderly processing and maintain the security and safety ofthe traveling
public, individuals may need to wait in Mexico before being permitted to enter the POE.
To confront the unprecedented humanitarian and border security crisis on the southwest border,
CBP is temporarily re-assigning CBP officers from several POEs to Border Patrol Sectors.
These officers will be deployed from the San Diego, Tucson, El Paso, and Laredo Field Offices'
areas ofresponsibility, which will impact CBP's ability to process trade and travel at those
locations. CBP officers will support Border Patrol Sectors with care and custody
responsibilities, including hospital watch and transportation. We are working closely with the
trade community, local authorities, and other partners to mitigate the impact ofreduced staffing
at the southwest border ports.


Narcotics
Illegal drugs continue to flow into the United States at POEs in the air, land, and sea
environments. CBP has a unique responsibility and a critical role in preventing illicit narcotics,
including opioids, from entering our country. CBP, with the support ofCongress, has made
significant investments in, and improvements to, drug detection and interdiction technology and

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